
KENNARD, J., Concurring.
In Kansas v. Crane (2002) 534 U.S. 407 [151 L.Ed.2d 856, 122 S.Ct. 867], the United States Supreme Court said that a defendant can be confined as a dangerous sexual predator only upon proof of “serious difficulty in controlling behavior.” (Id. at p. 413.) California’s Sexually Violent Predators Act (SVPA) (Welf. &amp; Inst. Code, § 6600 et seq.), enacted before Crane was filed, applies to a person who has a “diagnosed mental disorder that makes the person a danger to the health and safety of others in that it is likely that he or she will engage in sexually violent *779criminal behavior.” (Id., § 6600, subd. (a)(1).) A “diagnosed mental disorder” is defined to include a condition “affecting the emotional or volitional capacity that predisposes the person to the commission of criminal sexual acts in a degree constituting the person a menace to the health and safety of others.” (Id., § 6600, subd. (c).) The SVPA is not expressly limited to defendants who have serious difficulty in controlling their behavior.
Taking the language of the SVPA literally, a person could be confined as a sexually violent predator based on a condition that affects his emotional capacity by making the person likely to engage in sexually violent criminal behavior, even if he does not have serious difficulty in controlling his behavior. In other words, California’s SVPA applies literally to persons who have the capacity to refrain from committing predatory acts but choose to commit them anyway. Even though such persons are a danger to the health and safety of others, under Kansas v. Crane, supra, 534 U.S. 407, they cannot be confined under the SVPA procedure.
The majority in this case, however, points out the impossibility of distinguishing between the effects of mental illness on emotional capacity and volitional capacity. (Maj. opn., ante, at pp. 762-763.) After thorough review of the precedents from the United States Supreme Court and this court, it concludes that “California’s statute inherently embraces and conveys the need for a dangerous mental condition characterized by impairment of behavioral control.” (Id. at p. 774.) And because the SVPA specifies that the defendant’s mental disorder must predispose the person to the commission of criminal sexual acts to such an extent that he becomes “a menace to the health and safety of others” (Welf. &amp; Inst. Code, § 6600, subd. (c)), the majority reasons that a defendant’s difficulty in controlling behavior must be serious. I agree with this construction of the SVPA.
But the jurors in an SVPA case, if instructed solely in the language of the SVPA, will know nothing of the majority’s sophisticated exercise in statutory construction, of the precedents on which it based its holding, or the implications and conclusions it draws. The jurors may apply the literal language of the statute and find a defendant to be a sexually violent predator without deciding whether the defendant has serious difficulty in controlling his behavior. The jurors would not be acting unreasonably in reaching such a result; as the majority points out, state appellate courts are closely divided on whether statutory language similar to California’s SVPA does or does not include an implied requirement that the defendant have serious difficulty in controlling behavior. (See maj. opn., ante, at p. 774 &amp; fn. 6.)
A recent Arizona Supreme Court decision addressed this problem. After holding that due process requirements do not require a jury instruction on *780serious difficulty in controlling behavior, the court went on to say: “Given the important interests involved in SVP proceedings for both the state and the individual, no question should arise as to whether the jury understands the importance of finding that a mental disorder, rather than a voluntary decision to engage in repetitive criminal behavior, renders a person dangerous within the meaning of the SVP statute. To assure that jurors understand this requirement, we direct trial judges to instruct juries as follows in future SVP proceedings: ... An individual’s dangerousness must be caused by a mental disorder which, in turn, causes the person to have serious difficulty in controlling his or her behavior.” (In re Leon G. (2002) 204 Ariz. 15 [59 P.3d 779, 788].)
It would be prudent for California trial courts also to explain to jurors in future cases that defendants cannot be found to be sexually violent predators unless they have serious difficulty in controlling their behavior. Such an instruction will ensure that jurors comply with Kansas v. Crane, supra, 534 U.S. 407, 413, and do not commit defendants as sexually violent predators without determining that the defendants have serious difficulty in controlling their behavior. There is a risk that the United States Supreme Court, resolving the conflict in state court decisions noted by the majority (maj. opn., ante, at p. 777), may hold that a jury instruction on controlling behavior is constitutionally required; by anticipating this possibility and mandating such an instruction under our judicial authority, we can ensure the validity of California SVPA commitments.
